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 UNITED STATE DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  DAWN CORRIGAN, CAITLIN CORRIGAN, and
  AMBER CORRIGAN,                                Docket No. 22-cv-04688 (GRB)(ARL)

                       Plaintiffs,

       -against-

  TOWN OF BROOKHAVEN, THERESA TREJO,
  ED ROMAINE, and NEIL FOLEY,

                       Defendants.




 DEFENDANTS’ MEMORANDUM OF LAW IN FURTHER SUPPORT OF MOTION TO
              DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)




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        Defendants Town of Brookhaven (the “Town”), Theresa Trejo, Ed Romaine, and Neil

 Foley (collectively, the “Defendants”), respectfully submit this memorandum of law in further

 support of their partial motion to dismiss Plaintiffs’ Complaint, pursuant to Federal Rule of Civil

 Procedure 12(b)(6).

                                            ARGUMENT
 I.     PLAINTIFFS’ CLAIMS FOR ILLEGAL EVICTION AND INTENTIONAL
        INFLICTION OF EMOTIONAL DISTRESS SHOULD BE DISMISSED
        The instant motion seeks to dismiss, inter alia, the Complaint’s seventh cause of action for

 illegal eviction and eighth cause of action (in part) for intentional infliction of emotion distress.

 (D. Mem. of Law, p. 3-4, 7-9). Seemingly acknowledging these claims lack merit and are barred

 by the applicable statute of limitations, Plaintiffs failed to respond Defendants’ arguments. It is

 well settled that when a party fails to contest or otherwise respond to a movant’s contention, those

 claims shall be deemed abandoned. See Simon v. City of New York, 2015 WL 4092389, at *2

 (S.D.N.Y. July 6, 2015) (“Although the discussion in Defendants' memorandum otherwise focused

 on Section 1983, those references put Plaintiffs on notice that Defendants were seeking dismissal

 of their state-law claims against the Parkchester Entities. It follows that, whether or not Defendants'

 arguments had merit, it was Plaintiffs’ obligation to address the issue, on pain of their claim being

 deemed abandoned.”); see also Moccio v. Cornell Univ., No. 09–CV–3601 (GEL), 2009 WL

 2176626, at *4 (S.D.N.Y. July 21, 2009) (“Whatever the merit of [the defendants'] argument [for

 dismissal], plaintiff has abandoned the ... claim, as her motion papers fail to contest or otherwise

 respond to [the] defendants’ contention.”), aff'd, 526 F. App'x 124 (2d Cir.2013); deVere Grp.

 GmbH v. Opinion Corp., 877 F.Supp.2d 67, 70 (E.D.N.Y.2012) (deeming two causes of action

 abandoned because the “defendants move to dismiss [the plaintiff's] complaint in its entirety” and

 the plaintiff did not address those causes of action in opposing the defendants' motion to dismiss,
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 despite the fact that the defendants had not discussed the elements of these two claims); Jackson

 v. Federal Exp., 766 F.3d 189, 198 (2d Cir.2014) (“[I]n the case of a counseled party, a court may,

 when appropriate, infer from a party's partial opposition [to a motion for summary judgment] that

 relevant claims or defenses that are not defended have been abandoned.”); see Blown ex rel. Estate

 of Pouliot v. Spitzer, 356 F.3d 348, 363 n. 9 (2d Cir.2004) (“Although mentioning her other state-

 law claims ... Blouin provides no argument concerning them. Consequently, we consider them

 abandoned.”); Smith v. NYC Dep't of Educ., No. 09–CV–9256 (DLC), 2011 WL 5118797, at *6

 n. 8 (S.D.N.Y. Oct. 28, 2011) (“The BOE has requested summary judgment on the merits on each

 of Smith's claims.... In opposition to the motion, Smith only argues against the dismissal of the

 First Amendment claim. Smith has thereby abandoned the remainder of his claims” (citing Blouin,

 356 F.3d at 363 n. 9)), aff'd, 524 F. App'x 730 (2d Cir.2013); Di Giovanna v. Beth Israel Med.

 Cir., 651 F.Supp.2d 193, 208 (S.D.N.Y.2009) (ruling that a plaintiff abandoned a claim because

 he “made no attempt to rebut defendants' motion for summary judgment on this point.... Indeed

 his opposition papers do not even mention the claim.”).

          As such, the Court should dismiss the Complaint’s seventh cause of action for wrongful

 eviction and eighth cause of action (in part) for intentional infliction of emotional distress.

 II.      PLAINTIFFS’ NEGLIGENCE CLAIMS SHOULD BE DISMISSED
          As noted in Defendants’ moving papers, “[w]hen a plaintiff asserts … claims which are

 premised upon a defendants’ allegedly intentional conduct, a negligence claim with respect to the

 same conduct will not lie.” Warr v. Liberatore, 270 F. Supp. 3d 637, 655 (W.D.N.Y. 2017) (quoting

 Dineen ex rel. Dineen v. Stramka, 228 F. Supp. 2d 447, 454 (S.D.N.Y. 2002)). While Plaintiffs

 suggest that the Complaint’s eighth cause of action for negligence and negligent infliction of

 emotional distress are viable as alternate theories if it is “determined that defendant TREJO simply




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 made an error judgment,” (P. Mem. of Law, p. 3), they do not dispute the fact that these claims

 derive from Trejo’s alleged intentional conduct. As such, Plaintiffs’ claim for negligence and

 negligent infliction of emotional distress fails as a matter of law. See Rizk v. City of New York,

 462 F.Supp.3d 203, 229 (E.D.N.Y. 2020) (“Although a plaintiff is ‘generally permitted to plead

 different causes of action in the alternative, District Courts in this Circuit have held that when a

 plaintiff’s factual allegations are only consistent with a theory of intentional, or perhaps reckless,

 conduct, negligence claims must be dismissed.”).

          Moreover, Plaintiffs fail to allege that Trejo, acting in her capacity as a Town Building

 Inspector, owed them a special duty of care. See Flannery v. City of Rochester, 22-CV-6062, 2022

 WL 2356635, at *9 (W.D.N.Y. June 30, 2022).

 III.     PLAINTIFFS’ CLAIM FOR TRESPASS TO CHATTELS SHOULD BE
          DISMISSED
          As further detailed in Defendants’ moving papers, “[l]iability for trespass to chattels will

 be imposed only if the interference results in harm to the physical condition, quality or value of

 the chattel or if the owner is deprived of the use of the chattel for a substantial time.” Jackie’s

 Enterprises, Inc. v. Belleville, 165 A.D.3d 1567, 1572-73 (3d Dep’t 2018) (emphasis added). There

 is no allegation in the Complaint (or in Plaintiffs’ opposition) of injury in the form of “harm to the

 condition, quality or material value” of any alleged personal property. Therefore, the only way that

 Defendants can be held liable is if the alleged interference resulted in deprivation of the use of the

 chattel for a substantial period of time. See Elektra Entertainment Group, Inc. v. Santangelo, 2008

 WL 4452393 (S.D.N.Y. Oct. 1, 2008). Considering the uncontroverted legal standard, it is curious

 how Plaintiffs can take the position that “[i]t is not a defense to that interference to say that the

 entire contents of your home were only lost for a short period time.” (P. Mem. of Law, p. 3).




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          Notwithstanding the foregoing, Plaintiffs’ conclusory assertions and failure to delineate

 what personal property was allegedly interfered with is insufficient. See Faga v. Faga, No. 08-CV-

 11229 (CS), 2010 WL 11712776 (S.D.N.Y. March 5, 2010); see also Contractors Against Unfair

 Taxation Instituted on New Yorkers v. City of New York, No. 93-CV4718, 1994 WL 455553, at

 *8 (S.D.N.Y. Aug. 18, 1994). Plaintiffs appear to concede this fact as they seek permission to

 amend the Complaint. (P. Mem. of Law, p. 3).

 IV.      THE COURT SHOULD DISREGARD PLAINTIFFS’ PURPORTED MOTION TO
          RECONSIDER ITS MARCH 1, 2023 DECISION TO DISMISS THE
          COMPLAINT’S THIRD CAUSE OF ACTION FOR ALLEGED DUE PROCESS
          VIOLATION
          Without seeking permission in accordance with the Court’s Individual Rules and Practices,

 filing a proper cross-motion, or citing to any procedural authority, Plaintiffs now request the Court

 reconsider its March 1, 2023 dismissal of the Complaint’s Third Cause of Action for the alleged

 violation of the Due Process Clause (entered March 2, 2023). Even if the Court were to treat

 Plaintiffs’ request as a de facto cross-motion, the application is untimely under Local Civil Rule

 6.3 and Fed. R. Civ. P. 59(e).

          Local Civil Rule 6.3 provides in pertinent part as follows:
                   Unless otherwise provided by the Court or by statute or rule (such
                   as Fed. R. Civ. Proc. 50, 52, and 59), a notice of motion for
                   reconsideration or reargument of a court order determining a motion
                   shall be served within fourteen (14) days after the entry of the
                   Court’s determination of the original motion, or in the case of a court
                   order resulting in a judgment, within fourteen (14) days after the
                   entry of the judgment.
 See Local Civ. R. 6.3. Further, Fed. R. Civ. P. 59(e) provides that a “motion to alter or amend a

 judgment must be filed no later than 28 days after the entry of the judgment.” Plaintiffs opposition

 was served on April 23, 2023 -- 52 days after entry of the Order -- thereby rendering it untimely

 under either Rule 59(e) or Local Civil Rule 6.3.



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          Even if the Court were to reconsider its Decision and Order, which it should not, Plaintiffs

 fail to address Defendants’ initial arguments. Indeed, it was argued that the Complaint alleges two

 theories of deprivation of property without due process. First, Plaintiffs allege that Defendants

 unconstitutionally deprived them of the use of their home. Second, they allege that Defendants

 unconstitutionally deprived them of the personal belongings that remained in their home after

 Plaintiffs were removed. “In assessing whether a deprivation of property ‘was effected without

 due process,’ courts distinguish between (a) claims based on established state procedure and (b)

 claims based on random, unauthorized acts by state employees.” Palmer v. City of New York, 564

 F.Supp.3d 221, 247 (E.D.N.Y. 2021). “When the state conduct in question is random and

 unauthorized, the state satisfies procedural due process requirements so long as it provides [a]

 meaningful post-deprivation remedy.” Id. at 247-248.

          Here, in both instances, the Complaint alleges deprivations stemming from alleged

 “random and unauthorized” acts. Specifically, the Complaint alleges that Defendants’ actions were

 “illegal and improper,” that Defendants did not “follow any of the town code provisions,” “nor did

 they follow the proper procedures to lawfully condemn the property and remove the plaintiffs from

 their home.” (DE No. 1, ¶¶ 1, 39, 40). Notably, both the Complaint and Plaintiffs’ opposition fail

 to allege that Plaintiffs were not provided any “meaningful post-deprivation remedy,” except the

 conclusory allegation that the “plaintiffs were not afforded any federal procedural due process

 protections...” (DE No. 1, ¶ 39). “Courts in this circuit have consistently held that such threadbare

 allegations fall short in the absence of any facts indicating that the post-deprivation process

 available in New York courts for unauthorized deprivations of property were inadequate.” Palmer,

 564 F.Supp.3d at 248; see G.I. Home Developing Corp. v. Weis, 499 F. App'x 87, 89 (2d Cir.

 2012) (stating that “an Article 78 proceeding is sufficient postdeprivation process for an




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 unauthorized deprivation of property” in New York state court); see also Calley v. Town of

 Cortlandt, No. 19-CV-5453, 2019 WL 11880434, at *4 (S.D.N.Y. July 8, 2019) (holding that

 plaintiffs failed to state procedural due process claim based on their allegedly unlawful ejection

 from their residence because plaintiffs “ma[d]e no allegation that the procedures available to them

 under state law were inadequate”).

          Finally, the Court already opined on Plaintiffs’ attempt to rely upon Perkowski v. Town of

 Brookhaven to support their due process claim and disregarded the same.

                                           CONCLUSION

          WHEREFORE, it is respectfully requested that an Order be issued pursuant to Fed. R. Civ.

 P. 12(b)(6), dismissing the within action in its entirety; together with such other and further relief

 in Defendants’ favor as this Court deems just and proper.

 Dated: Hauppauge, New York
        April 27, 2023
                                                       QUATELA | CHIMERI PLLC


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